     Case 3:23-cv-00959-BAS-KSC Document 16-3 Filed 01/12/24 PageID.87 Page 1 of 4



1     JEFFREY B. SETNESS, ESQ
      California Bar No. 96773
2
      JEFFREY C. BRAMBLE, ESQ
3     Utah Bar No. 15548
      (Pro Hac Vice Application Pending
4
      FABIAN VANCOTT
5     411 East Bonneville Ave., Suite 400
      Las Vegas, Nevada 89101
6
      jsetness@fabianvancott.com
7     jbramble@fabianvancott.com
      Telephone: 702-286-2626
8
9
                             UNITED STATES DISTRICT COURT
10
                           SOUTHERN DISTRICT OF CALIFORNIA
11
      THANE CHARMAN, individual,                Case No.: 23-cv-0959-BAS-KSC
12                                 Plaintiff,
                                                PROOF OF SERVICE
13    v.
14                                              Hearing Date:   February 26, 2024
      DESERT LAKE GROUP, LLC, d/b/a
15    FIRST CLASS HERB TINCTURE,
                                                    NO ORAL ARGUMENT UNLESS
      d/b/a FIRST CLASS HERBALIST
16                                                     ORDERED BY THE COURT
      CBD, d/b/a FIRST CLASS
                                                Place:      James M. Carter and Judith
17    HERBALIST OILS, d/b/a USA
                                                            N. Keep U.S. Courthouse
      HERBALIST OILS, BENSON
18                                                          333 West Broadway
      CHRISTOPHER HUNTER, an
                                                            Courtroom 12B, 12th Floor
19    individual, CHRIS TIRRELL
                                                            San Diego, CA 92101
      ARMSTRONG, an individual, DARIN
20                                              Judge:      Hon Cynthia A. Bashant
      EDWARD TOONE, an individual,
21    JARED C FORBUSH, an individual,
                                                Complaint Filed: May 25, 2023
      JONATHAN KENT VIRGIN, an
22                                              Trial Date:      Not Set
      individual, NICHOLAS ANTHONY
23    ARMSTONG, an individual,
      NICHOLAS LANE JESSEN, an
24
      individual RYAN DEAN HOGGAN,
25    an individual,
26                               Defendant.
27
28
                                                 1
      PROOF OF SERVICE                                             Case No. 23-cv-0959-BAS-KSC
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1                                       PROOF OF SERVICE
2     STATE OF UTAH, COUNTY OF SALT LAKE
3           I am employed in the County of Salt Lake, State of Utah. I am over the age of 18
      and not a party to the within action; my business address is 95 South State Street, Suite
4
      2300, Salt Lake City, Utah 84111.
5
            On January 12, 2024, I served the foregoing document(s):
6
7           1.     Defendant Ryan Hoggan’s Notice of Motion and Motion to Dismiss Amended
                   Complaint;
8
            2.     Memorandum of Points and Authorities in Support of Motion to Dismiss
9                  Amended Complaint;
            3.     Declaration of Ryan Hoggan in Support of Motion to Dismiss;
10
            4.     [Proposed] Order Granting Motion to Dismiss; and
11          5.     Proof of Service
12
      on the interested parties in this action addressed and sent as follows:
13
                                 SEE ATTACHED SERVICE LIST
14
15          BY ENVELOPE: by placing the original a true copy thereof
            enclosed in sealed envelope(s) addressed as indicated and delivering such
16
            envelope(s):
17
            BY MAIL: I caused such envelope(s) to be deposited in the mail at Salt Lake
18
            City, Utah with postage thereon fully prepaid to the office or home of the
19          addressee(s) as indicated. I am “readily familiar” with this firm’s practice of
            collection and processing documents for mailing. It is deposited with the U.S. Postal
20
            Service on that same day, with postage fully prepaid, in the ordinary course of
21          business. I am aware that on motion of party served, service is presumed invalid if
            postal cancellation date or postage meter date is more than one day after the date of
22
            deposit for mailing in affidavit.
23
            BY FEDEX: I caused such envelope(s) to be deposited in a box or other facility
24
            regularly maintained by FedEx, an express service carrier, or delivered to a courier
25          or driver authorized by said express service carrier to receive documents in an
            envelope designated by the said express service carrier, addressed as indicated, with
26
            delivery fees paid or provided for, to be transmitted by FedEx.
27
28
                                                    2
      PROOF OF SERVICE                                                  Case No. 23-cv-0959-BAS-KSC
     Case 3:23-cv-00959-BAS-KSC Document 16-3 Filed 01/12/24 PageID.89 Page 3 of 4



1           BY E-FILING (USDC Southern): I caused copies of the documents to be
           filed with the Clerk of the court via ECF, which sent notification of such filing to all
2
           counsel of record, and to all parties who have consented to electronic service.
3          Electronic filing constitutes service upon all counsel of record and all parties who
           have consented to electronic service.
4
5          BY E-MAIL OR ELECTRONIC TRANSMISSION (Courtesy): I caused a
           courtesy copy to be transmitted by e-mail or electronic transmission to the person(s)
6
           at the e-mail address(es) as indicated.
7
           FEDERAL: I declare that I am employed in the office of a member of the bar
8
           of this court at whose direction service was made.
9
           Executed on January 12, 2024, at Salt Lake City, Utah.
10
11
                                            /s/ Michelle D. Donohoo
12
                                            Michelle D. Donohoo
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      PROOF OF SERVICE                                                 Case No. 23-cv-0959-BAS-KSC
     Case 3:23-cv-00959-BAS-KSC Document 16-3 Filed 01/12/24 PageID.90 Page 4 of 4



1                                     SERVICE LIST
2                     Thane Charman v. Desert Lake Group, LLC, et al.
                   USDC – Southern District Case No. 23-cv-0959-BAS-KSC
3
4     Thane Charman                              Michael Lynn Wright
      2270 Boundary Street                       Caldarelli Hejmanowski Page & Leer
5     San Diego, California 92104                3398 Carmal Mountain Road, Suite 250
6     Email: thane@thanemckane.com               San Diego, California 92121
             obey.tcpa@gmail.com                 Email: mlw@chpllaw.com
7     Plaintiff In Pro Se                        Attorneys for Defendants Desert Lake
                                                 Group, LLC and Chris Tirrell Armstrong
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      PROOF OF SERVICE                                           Case No. 23-cv-0959-BAS-KSC
